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                        IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF OKLAHOMA                                                   I'
                                                                                                      .,_,,'




In re: ALEXANDER LOUIS BEDNAR,                            CaseNumber:15-11916T~ij         FEB2l p Lt: 31
                                                          Chapter 7
     Debtor.


Alexander L. Bednar
    Plaintiff
V


Franklin American Mortgage Company
Federal National Mortgage Association
Oklahoma County Sheriff
    Defendants
                       And
Alexander Bednar
v.
RCB Bank

                                  MOTION TO QUASH SUBPOENA

        COMES NOW DEBTOR/PLAINTIFF, Alexander Bednar, and hereby requests that the

Subpoena, attached as Exhibit 1 (including the letter from attorney's office), be quashed, for violation of

local rules, procedure, as no discovery conference has occurred, and as the subpoena (per the first page of

Exhibit 1) is clearly intended to be used in "10th Cir. BAP Case No. WO-18-099," which is in Denver,

Colorado, more than one hundred miles away, in violation of Fed R Civ P. Rule 45, incorporated into

Bankruptcy Procedure by Rule 9016.        Because this Court does not have standing or jurisdiction to

address matters on appeal once an appeal is filed, as a separate reason to quash, this Court does not have

jurisdiction to help a litigant with a matter brought up on appeal. See e.g. In re Transtexas Gas Co., 303

F.3d at 579. A subpoena issued in an improper court is a frivolous filing, and should be set aside.

        As the Western District of Oklahoma requires that parties have a conference under Fed R. Civ P

Rule 16 before issuing discovery, and as Bankruptcy Law procedure incorporates such procedure, the

subpoena is inappropriate as no conference occurred, and as this Court does not have jurisdiction for

matters involving a Tenth Circuit BAP appeal.         Lastly, Federal Rule of Procedure 45 applies to

Subpoenas issued in the Western District of Oklahoma Bankruptcy Court, and mandates that a Notice of a
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subpoena must be served on all parties prior to service on the person receiving the commands. Because

no such notice was given to all parties prior to serving the party receiving the subpoena, the subpoena

should be quashed.

        WHEREFORE, Debtor/Plaintiff requests that the Subpoena issued by Jim Timberlake and

attached in Exhibit 1 be quashed, for the aforementioned reasons.



                                                         Respectfully sub · ed,


                                                          Isl
                                                        Alexander Bednar, OBA# 19635
                                                        BEDNAR LAW FIRM
                                                        15721 Via Bella
                                                        Edmond, OK 73013
                                                        405 420 9030
                                                        Representing Debtor (self)




                          NOTICE AND OPPORTUNITY FOR HEARING

        YOUR RIGHTS MAY BE AFFECTED. You SHOULD READ THIS DOCUMENT CAREFULLY
        AND CONSULT YOUR ATTORNEY ABOUT YOUR RIGHTS AND THE EFFECT OF THIS
        DOCUMENT. IF YOU DO NOT WANT THE COURT TO GRANT THE REQUESTED RELIEF,
        OR YOU WISH TO HAVE YOUR VIEWS CONSIDERED, YOU MUST FILE A WRITTEN
        RESPONSE OR OBJECTION TO THE REQUESTED RELIEF WITH THE CLERK OF THE
        UNITED STATES BANKRUPTCY COURT FOR THE WESTERN DISTRICT OF OKLAHOMA,
        215 DEAN A. MCGEE AVENUE, OKLAHOMA CITY, OK 73102, NO LATER THAN 14
        DAYS FROM THE DATE OF FILING OF THIS REQUEST FOR RELIEF, UNLESS ORDERED
        SOONER BY SEPARATE ORDER. You SHOULD ALSO SERVE A FILE-STAMPED COPY OF
        YOUR RESPONSE OR OBJECTION ON THE UNDERSIGNED MOVANT (AND OTHERS WHO
        ARE REQUIRED TO BE SERVED) AND FILE A CERTIFICATE OF SERVICE WITH THE
        COURT. IF NO RESPONSE OR OBJECTION IS TIMELY FILED, THE COURT MAY GRANT
        THE REQUESTED RELIEF WITHOUT A HEARING OR FURTHER NOTICE.

        THE 14 DAY PERIOD DESCRIBED ABOVE INCLUDES THE THREE (3) DAYS ALLOWED
        FOR MAILING PROVIDED FOR IN BANKRUPTCY RULE 9006 (F).




                                                                                                      2
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                               CERTIFICATE OF SERVICE

Undersigned certifies that on this date the foregoing document was served, via
United States Mail, 1st class postage pre-paid, and properly addressed to the
following:

 Oklahoma County District Attorney              Don Timberlake
c/oRodHeggy                                     PO Box 18486
320 Robert S Kerr                               Oklahoma City, OK 73154-0486
County Building, 5th Floor                      Attorney for Franklin American
Oklahoma City OK 73102                          and Fannie Mae in state court
Attorney for Oklahoma County Sheriff


Scott Kirtley, Esq                              RCBBank
Riggs Abney Law Firm                            300 W. Patti Page
502 W. 6th Street
Tulsa, OK 74119-1010                            Claremore,O~k-
                                                       /s/     (Jf!:_
                                                       Alexander Bednar / Debtor
                                                       15721 Via Bella
                                                       Edmond, OK 73013      405 420 9030
                                                        bednarconsult@gm<1il,c()_r11




                                                                                            3
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                                   BAER & TIMBERLAKE, P.C.
                                       A PROFESSIONAL CORPORATION
                                 ATl'ORNEYS AND CoUNSELORS AT LAW
                              4200 Perimeter Center Drive, Suite 100
                                      Oklahoma City, OK 73112
                                           P.O. Box 18486
                              Oklahoma City, Oklahoma 73154-0486
                                     Telephone: (405) 842- 7722
                            Writer's E-Mail: asharp@baer-timberlake.com

                                          February 7,2019           6.,(0V,"I   ~AS-
                   HAND DELIVERY VIA PRIVATE PROCESS SERVER

M&T Buchannan, LLC d/b/a Quail Post
13919-B N. May Ave.
Oklahoma City, OK 73134


Re:    Alexander L. Bednar v. RBC Bank, et al.; 10th Cir. BAP; Case No. WO-18-099; BT No.
       112287.

To Whom It May Concern::

       Enclosed please find enclosed a Subpoena Duces Tecum issued on February 7, 2019, and
commanding the production and inspection of the items listed on Exhibit A on or before February
27, 2019, at the offices of Baer & Timberlake, P.C., address listed above.

        Please read all pages of the enclosed subpoena, and feel free to contact your legal counsel
with any concerns. Please also let me know if you would agree, in lieu of appearing at our offices
for said production, to fill in, sign, and date the enclosed Affidavit, if it is accurate and if that is
preferable. Please let me know at your earliest convenience.

       I look forward to hearing from you and please feel free to contact me if you have any
questions or concerns.




                                               Sincerely,

                                               BAER & TIMBERLAKE, P.C.




                                                       Alex M. Sharp, Esq.
AMS/IZC

Enclosure
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B25i0 !Form 2570- Subpoena to Produce Documents, lnfo1111ation, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (12/15)

                                       UNITED STATES BANKRUPTCY COURT
                       We-:-tern District of Of·da.l1oma
 ------------------'-'=='-'-                 =-'-'-'-='-'="-'-='---------------
[n re        ALEXANDER L. BEDNAR
                                     Debtor
                                                                                     Case No.       15- i -1 9 i 6
           (Complete if issued in an adversary proceeding)
        ALEXANDER L. BEDf\JAR                                                        Chapter __7___

                                    Plaintiff
'18C [~ii.MK, FR.~.Nl<Uf\J Mvlt:RICAN MoR:YGAGE COMPI-./AY, FANNIE MAE, and          Adv. Proc. No.        i 8-01 096
                                   Defendant

         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
         INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
  To:    M&T BUCHANNAN, LLC, an Oklahoma limited liability company d/b/a QUAIL POST
                                                          (Name ofperson to whom the subpoena is directed)

  bl} Production: YOU ARE COMMANDED to produce at the time, date, and place set fo1th below the following
  documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
  material: See, Exhibit "A'' attached hereto

  PLACE 1 Ile offices of Baer & Timberlake. P.C.                                                              DA TE AND TIME
        4200 Perimeter Center Dr., Ste. 100
        Oklahoma Citv. OK 73i 12                                                                                           o< /2.7 / IC,
  0 Inspection. of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
  other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party


  PLACE                                                                                                     I
  may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
                                                                                                              DATEANDTIME




          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached -Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.

   Date:     February 7. 2019
                                     CLERK OF COURT



                                      Signature of Clerk or Deputy Clerk                             Attorney's signature

   The name, address, email address, and telephone number of the attorney representing (name of party)
     Tl\"'",\f'Jle. •'-'A~            , who issues or requests this subpoena, are:
    ~-.'¼,   1:M~kk.•.; ~12.0D                ~f'•rnt?-tt,(""   C'lir. ':Dr•.;     or<.c, ()/(.
                                                                                    ?!112 ..):W\@loAe-r...                         f~4!.le.c~l
                                              Notice to the person who issues or requests this subpoena                                  qK•.507.. 7H.l'!f
   If this subpoena commands the production of documents, electronically stored infom1ation, or tangible things, or the
   inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
   the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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82570 (Fonn 2570 - Subpoena to Produce Documents. Infonnation, or Objects or To Pennit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page J)

                           Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                         (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

 (c} Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                        not describe specific occurrences in dispute and results from the expert's
  (I) For a Trial, Hearing. or Deposition. A subpoena may command a                     study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follov.'S:                         (CJ Specifying Conditions as an Alternative. In the circumstances
    (A) within IOO miles of where the person resides, is employed, or                   described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                              modifying a subpoena, order appearance or production under specified
    (8) within the state where the person resides, is employed, or regularly            conditions if the serving party:
transacts business in person, if the person                                                    (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party's officer; or                                           be otherwise met without undue hardship: and
      (ii) is commanded to attend a trial and would not incur substantial                      (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                                compensated.

  (2) For Other Discovery. A subpoena may command:                                       {e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within I 00 miles of where the person resides, is employed,               (I) Pmducing Documents or Electronically Stored /11for111atio11. These
or regularly transacts business in person: and                                           procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                         information:
                                                                                              (AJ Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.                              documents must produce them as they are kept in the ordinary course of
                                                                                         business or must organize and label them to correspond to the categories in
      (I) Avoiding U11due Burden or Expense: Sa11ctiom. A party or                       the demand.
attorney responsible for issuing and serving a subpoena must take                             (BJ Form/or Producing Electronically Stored hrfor111atio11 Not
reasonable steps to avoid imposing undue burden or expense on a person                   Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is                  electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction -                     a fonn or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees - on a                    usable form or forms.
party or attorney who fails to comply.                                                        (CJ Electro11ically Stored /11.formation Produced in Only One Form. The
                                                                                         person responding need not produce the same electronically stored
     (2) Command to Produce Materials or Permit /mpection.                               information in more than one form.
        (A) Appearance Not Required. A person commanded to produce                             (DJ /11accessible Electronical(v Stored Information. The person
· .documents, electronically stored information, or tangible things, or to                responding need not provide discovery of electronically stored infomtation
   permit the inspection of premises, need not appear in person at the place of           from sources that the person identities as not reasonably accessible because
   production or inspection unless also commanded to appear for a deposition              of undue burden or cost. On motion to compel discovery or for a protective
   hearing, or trial.                                                            '        order, the person responding must show that the information is not
      . (BJ OhjectimU:· _A pers?n commanded to produce documents or tangible              reasonably accessible because of undue burden or cost. lfthat showing is
   ~hmgs or to permit mspectron may serve on the party or attorney designated             made. the court may nonetheless order discovery from such sources if the
   m the ~ubpoena a written objection to inspecting, copying, testing or                  requesting party shows good cause, considering the limitations of Rule
   samplmg any or all of the materials or to inspecting the premises - or to              26(b)(2)(C). The court may specify conditions for the discovery.
   prnduc!ng ~lectronically stored information in the form or forms requested.
   The ~Jeclton must be served before the earlier of the time specified for
                                                                                             (2) Claiming Privilege or Protection.
   comphance or 14 days after the subpoena is served. If an objection is made.                 (A) /11/ormaJion Withheld. A person withholding subpoenaed
   the following rules apply:
          (i) At any time, on notice to the commanded person, the serving party
                                                                                  ·
                                                                                                                                                                 as
                                                                                          information under a claim that it is privileged or subject to protection
                                                                                          trial-preparation material must:
   may move the court for the district where compliance is required for an
                                                                                                 (i) expressly make the claim: and
   order compelling production or inspection.
                                                                                                 (ii) describe the nature of the withheld documents, communications.
          (ii) These acts may be required only as directed in the order, and the
                                                                                          or tangible things in a manner that, without revealing information itself
   o~t; ~ust protect a p~n who is neither a party nor a party's officer from              privileged or protected, will enable the parties to assess the claim.
   s1g111hcant expense resulting from compliance.
                                                                                               (B) Information Produced. If information produced in response to a
                                                                                          subpoena is subject to a claim of privilege or of protection as trial-
   (3J Quashing or Modifying a Subpoena.
                                                                                          prep~tion ~aterial, !he person making the claim may notify any party that
     (A) When Required. On timely motion, the court for the district where
                                                                                          rec 1ved the mformatJon of the claim and the basis for it After being
 compliance is required must quash or modify a subpoena that:                                  7
                                                                                          notified, a party must promptly return. sequester, or destroy the specified
       (i) fails to allow a reasonable time to comply;
                                                                                           information and any copies it has: must not use or disclose the information
       (ii) requires a person to comply beyond the geographical limits
                                                                                           until the claim is resolved: must take reasonable steps to retrieve the
 specified in Rule 45(c);
                                                                                           information if the party disclosed it before being notified; and may
       (iii) requires disclosure of privileged or other protected matter. if no
 exception or waiver applies; or                                        ·                  promptly present the information under seal to the court for the district
                                                                                           where comp[ iance _is requi~d for a determination of the claim. The person
       (iv) subjects a person to undue burden.
                                                                                           who produced the mformal1on must preserve the information until the claim
     (B) When Permitted. To protect a person subject to or affected by a
                                                                                           is resolved.
 sub~na, the court fo~ the district where compliance is required may, on
 motion, quash or mochfy the subpoena ifit requires:
       (i) disclosing a trade secret or other confidential research,
                                                                                          (g) Contempt. The court for the district where compliance is required - and
 development, or commercial information; or                                               also, after a motio~ is transferred, the issuing court - may hold in contempt
                                                                                          a person who, havmg been served, fails without adequate excuse to obey
                                                                                          the subpoena or an order related to it.


                                             For access to subpoena materials, see Fed. R. Civ. P. 4S{a) Committee Note (2013)
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                                        EXHIBIT "A"
DOCUMENTS TO BE PRODUCED:
   1. Record regarding postage label purchased January 15, 2019, at 1:44 p.m. from Quail Post
      bearing package number 297541, which has a label mailing the package to Franklin
      American Mortgage care of Don Timberlake to P.O. Box 18486, Oklahoma City, OK
      73154, from Alex Bednar, 15721 Via Bella, Edmond, OK 73013;
   2. Record of envelope picked up from Quail Post on January 15, 2019, at 4:19 p.m. by the
      USPS for delivery;
NOTE: This subpoena includes electronically, magnetically or digitally stored records relating to

the documents requested above, including, without limitation, e-mails.


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BT 112287                                       1                          Subpoena Duces Tecum
